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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

GEORGE MOUSA MUFARREH,
an individual,

Plaintiff`, Case No.: 2:17-cv-10756-MOB-SDD
vs. Hon.: Marianne O. Battani

Magistrate: Stephanie Dawkins Davis
TBF FINANCIAL, LLC,
an Illinois limited liability company,
CANNON LAW ASSOCIATES,
a Utah Prof`essional limited liability company,
KABBAGE, INC., a foreign corporation, and,
CELTIC BANK CORPORATION,
a Utah corporation,

Defendants.

THE RUBINSTEIN LAW FIRl\/I
By: Jan Jeffrey Rubinstein (P57937)
Attomeys for Plaintiff

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(248) 220-1415

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NOTICE OF VOLUNTARY DISMISSAL OF ACTION WITH PREJUDICE

Plaintiff" George l\/lousa Mufassah (“Plaintii°f”), appearing by and through his counsel, The
Rubinstein Law Firm, hereby voluntarily dismisses this action with prejudice and without costs or
attorney fees to any party pursuant to FRCP 4l(a)(l). No Answer or Motion for Summary Judgment has

been filed by any of the defendants in this action.

Respectfully Submitted,

 

 

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Dared; March l 1,2017

